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 7

 8                               UNITED STATES DISTRICT COURT
 9                 EASTERN DISTRICT OF CALIFORNIA – FRESNO DIVISION
10   STELLA KAMALU,                                 )   Case No.: CV 13-00627-LJO-SAB
                                                    )
11                  Plaintiff,                      )   NOTICE OF MOTION AND MOTION TO
                                                    )   QUASH SUBPOENA FOR MOBILE
12          vs.                                     )   TELEPHONE RECORDS.
                                                    )
13   WAL-MART STORES, INC.,                         )   Date: July 31, 2013
                                                    )   Time: 9:30 a.m.
14                  Defendant                       )   Courtroom: 9
                                                    )
15                                                  )
                                                    )
16                                                  )
                                                    )
17

18   TO THE HONORABLE COURT AND ALL PARTIES:
19          PLEASE TAKE NOTICE that on July 31, 2013 at 9:30 a.m., or as soon thereafter as
20   counsel may be heard in Courtroom 9 of the above entitled court located at 2500 Tulare Street,
21   Fresno, CA 93721, Plaintiff Stella Kamalu will move the Court for an order quashing subpoena
22   for mobile telephone records served on AT&T Mobility, LLC.
23          PURSUANT to Local Rule 251, the Joint Statement of the Parties re: Discovery Dispute
24   is filed concurrently with the motion.
25   Dated: July 13, 2013                                 Law Offices of Akudinobi & Ikonte
26

27
                                                          By:_/s/ Chijioke Ikonte______
                                                                 Chijioke Ikonte
28                                                               Attorney for Plaintiffs
                                                                 Stella Kamalu



                                      Motion to Quash Subpoena - 1
